










IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



FEBRUARY 14, 2006




NO. 07-05-0384-CV






IN RE STACY K. BOONE, P.A. AND


CARDIOLOGISTS OF LUBBOCK, P.A.


			_______________________________


										


NO. 07-05-0425-CV






IN RE COVENANT MEDICAL GROUP, P.A.


_____________________________________




Before REAVIS and CAMPBELL, JJ. and BOYD, S.J. (1)

OPINION


	Relators Stacy K. Boone, P.A. ("Boone") and Cardiologists of Lubbock, P.A.
("COL"), defendants in a medical malpractice case, seek a writ of mandamus directing
respondent the Honorable Sam Medina, judge of the 237th District Court of Lubbock
County, to withdraw his order denying relators' motion to dismiss and further directing
respondent to grant relators' motion to dismiss, thereby dismissing the underlying case with
prejudice with an award of monetary sanctions. (2)  In a separate original proceeding, relator
Covenant Medical Group, P.A. ("CMG") (3) seeks a writ of mandamus directing respondent
to grant CMG's motions to dismiss, thereby dismissing the underlying cause with prejudice
with an award of monetary sanctions. (4)  Both of these original proceedings arise from the
same underlying case and the same expert report filed pursuant to former article 4590i, the
Medical Liability and Insurance Improvement Act.  We deny both petitions.Factual Background


	On June 18, 2003, Nancy Stovall underwent surgery for a right inguinal hernia
performed by Elbert A. Thames, Jr., M.D., an employee of CMG, at Covenant Medical
Center in Lubbock, Texas.  Stovall's health history included an aortic valve replacement
with a mechanical prosthesis in 1990, a coronary stent placement in 1999, and a
laparascopic cholecystectomy in 2002.  Following the uneventful hernia repair surgery,
Stovall experienced chest pain and a cardiologist, Howard P. Hurd II, M.D., was consulted. 
Boone is Hurd's physician assistant and also saw Stovall during her hospitalization.  COL
employs both Boone and Hurd.  Stovall remained in the hospital in order to regulate her
anti-coagulation medication which included Heparin and Coumadin.  On June 21, Stovall
fell on her way to the bathroom.  There was a drop in her blood count and blood pressure
and she was moved to the ICU under the care of Mark E. Pessa, M.D., an employee of
CMG.  The next day, Stovall suffered from liver dysfunction and renal failure secondary to
hypotension.  She later experienced multi-system failure and died on June 24, 2003.

Background of Underlying Lawsuit


	On August 26, 2003, pursuant to article 4590i,  the real parties in interest filed suit
against the healthcare providers that participated in her course of treatment that began on
June 18, 2003.  In January 2004, plaintiffs provided their section 13.01(d) medical expert
report, authored by Howard S. Bush, M.D., a cardiologist.  Among other aspects of her
treatment, the 13-page Bush report criticizes Stovall's post-operative anti-coagulation
therapy, which was administered by Dr. Hurd, Boone, COL, CMG, and others. (5)  

Boone and COL's Motions to Dismiss


	In February 2004, Boone and COL filed their objections to the sufficiency of the
Bush report and a motion to dismiss.  In July 2004, Boone and COL renewed their
objections to the Bush report and filed additional motions to dismiss.  The trial court denied
Boone and COL's motions to dismiss in August 2005, and Boone and COL seek
mandamus to reverse the trial court's denial of the motions.

CMG's Motion to Dismiss


	As noted, Drs. Thames and Pessa are employees of CMG.  Thames, Pessa and
CMG filed separate motions to dismiss based on the inadequacy of Dr. Bush's report under
article 4590i.  In July 2005, the plaintiffs non-suited Dr. Pessa.  In August 2005, the trial
court denied the motions to dismiss filed by Thames and CMG.  CMG suggests, and the
real parties in interest do not dispute, that Thames also has been dismissed from the
underlying lawsuit. (6)   CMG also seeks mandamus for the trial court's denial of its motion
to dismiss.

Requirements of 4590i Expert Report  


	This court has found mandamus relief available to correct a trial court's erroneous
failure to dismiss a claim brought under article 4590i that is not supported by an adequate
section 13.01 expert report.  In re Windisch, 138 S.W.3d 507, 514 (Tex.App.-Amarillo
2004, orig. proceeding) (qualifications of expert not shown in report); In re Northwest Texas
Healthcare System, Inc., 2005 WL 991365, *3 (Tex.App.-Amarillo April 27, 2005, orig.
proceeding [mand. pending]) (reports inadequate because they either omit or do no more
than state the experts' mere conclusions about the elements required in an expert report). 
Mandamus issues only to correct a clear abuse of discretion or the violation of a duty
imposed by law when there is no other adequate remedy by law.  Walker v. Packer, 827
S.W.2d 833, 839 (Tex. 1992). 

	An expert report under section 13.01 does not need to marshal all of plaintiff's proof,
but the report must be written by an expert and provide a fair summary of that expert's
opinions regarding (1) the applicable standard of care, (2) the breach of that standard, and
(3) the causal relationship between the breach and the injury.  TEX. REV. CIV. STAT. art.
4590i, §13.01(r)(6);  Bowie Memorial Hosp. v. Wright, 79 S.W.3d 48, 52 (Tex. 2002);
Chisholm v. Maron, 63 S.W.3d 903, 906 (Tex.App.-Amarillo 2001, no pet.).  To constitute
the required "good faith effort," the report must provide enough information to fulfill two
purposes: (1) it must inform the defendant of the specific conduct the plaintiff has called
into question, and (2) it must provide a basis for the trial court to conclude that the claims
have merit.  American Transitional Care Ctrs. of Texas, Inc. v. Palacios, 46 S.W.3d 873,
879 (Tex. 2001).  With regard to the causation element, the expert must explain the basis
of his statements to link his conclusions to the facts.  Earle v. Ratliff, 998 S.W.2d 882, 890
(Tex. 1999).  The report must, as to each defendant, provide a fair summary of the expert's
opinions concerning the applicable standard of care, the manner in which the care failed
to meet that standard, and the causal relationship between that failure and the claimed
injury.  Palacios, 46 S.W.3d at 878.





Petition of Boone and COL


	In support of their contention that mandamus should issue to correct the trial court's
order denying their article 4590i, §13.01(e) motion, Boone and COL argue that Bush's
report (1) fails to state the standards of care applicable to a professional association and
a physician's assistant and fails to demonstrate that Bush is qualified to address the
standards of care applicable to those defendants; (2) fails to show a breach in the standard
of care by Boone and COL; and (3) fails to show a causal link between the care rendered
by Boone and COL and Stovall's injuries and death.   

Qualifications of Dr. Bush


	We first address Dr. Bush's qualifications to testify as to the standard of care
applicable to Boone and COL.  The determination of his qualifications to provide an expert
report must be made on the basis of the contents of the report and his curriculum vitae.
Bowie, 79 S.W.3d at 52;  Windisch, 138 S.W.3d at 511.  Those documents reflect that
Bush has been licensed to practice medicine in Texas since 1983 and in Florida since
1990.  He is board certified in Cardiovascular Diseases, in Interventional Cardiology, and
in Internal Medicine.  At the time of the report, Bush was engaged in active practice as the
chairman of the Department of Cardiology at Cleveland Clinic Florida.  His report states
that he "devotes the majority of [his] time to operative and post operative care, and [he]
regularly see patients under the circumstances described in this report."  It further states
he averages seeing over 75 patients per week in clinic, and performs over 800 procedures
(450 interventions and 350 diagnostic procedures) per year, and that he is "familiar with
the standards of care and regularly provide and supervise care in connection with the
treatment of patients situated like Nancy Everett Stovall in terms of physicians, physician's
assistants, nurses, and hospitals."  As noted, Boone is a physician's assistant supervised (7)
by Dr. Hurd who, like Dr. Bush, is a cardiologist.  Relators do not here contend Bush is
unqualified to render an expert opinion on the standard of care applicable to Dr. Hurd. 
Bush's expert report and curriculum vitae contain information from which the trial court
could have concluded that Dr. Bush is competent to testify to the standard of care of a
physician's assistant in the same practice area.  See Manor Care Health Services, Inc. v.
Ragan, 2006 WL 57355, *4 (Tex.App.-Houston [14th Dist.] Jan. 12, 2006, no pet.); Hall v.
Huff, 957 S.W.2d 90, 100 (Tex.App.-Texarkana 1997, pet. denied) (both stating a
physician is not disqualified from offering an opinion regarding nursing care simply because
he is a physician and not a nurse by profession). 

  	Boone and COL next question whether Bush is qualified to testify as to the standard
of care applicable to COL, a professional association.  In response, real parties in interest
argue that no expert report was required as to COL because their initial pleadings asserted
COL's liability only on a respondeat superior theory.  COL replies that real parties'
amended pleadings allege COL has liability apart from respondeat superior and the plain
language of 4590i requires an expert report for each health care provider against whom
a claim is asserted.  Section 24 of the Professional Association Act provides: "The
association . . . shall be jointly and severally liable with the officer or employee furnishing
professional services for such professional errors, omissions, negligence, incompetence
or malfeasance on the part of such officer or employee when such officer or employee is
in the course of his employment for the association."  TEX. REV. CIV. STAT. ANN. art. 1528f,
§ 24.  There is no suggestion that Dr. Hurd or Boone was acting outside the course of
employment in their treatment of Stovall.  If either of them was negligent, COL has the
liability prescribed by the Professional Association Act.  Battaglia v. Alexander, 177 S.W.3d
893, 901-02 (Tex. 2005).  We have concluded Dr. Bush is qualified to testify to the
standard of care applicable to Boone, and, as noted, relators do not here challenge his
qualifications to testify to that applicable to Dr. Hurd.  Therefore, Dr. Bush is qualified to
testify as to the standard of care applicable to COL.  Id., TEX. REV. CIV. STAT. ANN. art.
1528f, § 24.    

	COL seems to suggest that regardless of whether Dr. Bush was qualified to testify
as to COL's vicarious liability, Dr. Bush is not qualified to testify as to COL's individual
liability and, thus, the Bush report is inadequate.  We do not reach that issue because we
have concluded section 24 of the Professional Association Act imputes the alleged liability
of Dr. Hurd and Boone to COL and, therefore, dismissal of the case against COL is not
warranted based upon the qualifications of Dr. Bush.  

Standard of Care


	We turn to the question whether the Bush report adequately states the standard of
care applicable to Boone and COL.  We conclude that it does.  

	Bush's report divides his discussion of the standard of care into two sections: the
first addressing the cardiologist Dr. Hurd, his physician's assistant Stacey K. Boone, their
practice group COL, the surgeons Dr. Thames and Dr. Pessa, and their practice group
CMG (denominated by Dr. Bush as the "physicians") and the second addressing the
hospital and its employees.  The "physicians" section of the report begins: "The standard
of care for Howard P. Hurd, II, M.D., Cardiologists of Lubbock, P.A., Stacey K. Boone, P.A.,
Elbert A. Thames, Jr., M.D., Mark E. Pessa, M.D., and Covenant Medical Group, P.A.
(hereinafter "the Physicians") for pre-operative, operative, and post-operative anti-coagulation and anti-coagulation transition is well established." (emphasis in original). 
There follows a detailed discussion of the standard of care with respect to post-operative
anti-coagulation therapy in patients with a mechanical valve prosthesis, as applicable to
Stovall. 

	Relators contend the report does not identify a standard of care for a physician's
assistant like Boone.  They are correct that the report does not separately set forth a
standard of care applicable to Boone.  But we must agree with the real parties in interest 
that the report nonetheless states Dr. Bush's opinion concerning the standard of care
applicable to Boone.  The report ascribes the same standard of care to Boone as to the
others included among the "physicians." 

	Relators elsewhere cite Taylor v. Christus Spohn Health System Corp., 169 S.W.3d
241 (Tex.App.-Corpus Christi 2004, no pet.), which affirmed a trial court's dismissal of the
plaintiff's claims against six defendants based on the inadequacy of the expert report.  The
proffered expert report ascribed negligent conduct to some, and sometimes all six,
defendants, without explaining the standard of care required of the individual defendants. 
We do not find Taylor controlling here.  The disparate defendants there included an
emergency room physician, a hospital, and a cardiology association which, the court noted,
"owed different duties to the deceased."  Id. at 246. 

	All the individual defendants here were involved in the administration of Stovall's
post-operative anti-coagulation therapy.  Bush's report states that the standard of care
applicable to all of them required, inter alia, (8) that they "recognize ongoing blood loss and
discontinue anti-coagulation in the presence of ongoing blood loss.  Specifically, the
patient's labs revealed ongoing blood loss and a growing wound hematoma was
recognized.  The standard of care required that the anti-coagulation be discontinued in light
of the patient's presentation."  While relators may disagree with Bush's opinions
concerning the standard of care applicable to each of those individual defendants, the
report contains a fair summary of his opinions and adequately informs them of the specific
conduct called into question.  Palacios, 46 S.W.3d at 879-80.  We conclude the report fairly
summarizes the standard of care applicable to Boone and COL.  Id.; TEX. REV. CIV. STAT.
ANN. art. 4590i, §13.01.  

Breach of the Standard of Care and Causation


	Boone and COL argue the Bush report fails to show their breach of the standard of
care and fails to show a causal link between the care rendered by them and Stovall's
injuries.  With regard to causation, the expert's report must contain information linking the
harm to the alleged breach in a manner that is not merely conclusory.  Bowie, 79 S.W.2d
at 53.    The report states, in part:

		With regard to the manner in which the are [sic] rendered by the Physicians
failed to meet the standards, the initial decision to anti-coagulate the patient, the
dose of anti-coagulation that was used (Heparin and Coumadin), the decision to
keep the patient in the hospital beyond the initial 24 hours of observation, and the
failure to recognize and act appropriately on the falling hemoglobin in a post-operative patient with an expanding hematoma on anti-coagulation all represent
breaches of the standard of care.  Further, the failure on the part of the Physicians
to insist that the anti-coagulation be discontinued after 24 hours with the wound
hematoma beginning and the hemoglobin falling represent additional breaches of
the standard of care. (9)


	Here again, in this case, the report adequately informs Boone and the other
defendants of the specific conduct the plaintiffs call into question.  That the report includes
Boone and COL with her supervising physician Dr. Hurd and the other physicians does not
render its discussion of the alleged breaches inadequate.  We find also that the Bush
report links the harm to the breach (10) in a manner that is not merely conclusory.  Bowie, 79
S.W.2d at 53.  We conclude the Bush report constitutes a good faith effort to inform Boone
and COL of the specific conduct called into question and  provides a basis for the trial court
to conclude that the claims against Boone and COL have merit.  Palacios, 46 S.W.3d at
879.


Covenant Medical Group


	CMG also raises the broad issue of whether mandamus should issue to correct
respondent's order denying relief to CMG on its article 4590i, § 13.01 motion.  Specifically,
CMG argues the Bush report (1) does not adequately establish a basis upon which Dr.
Bush is qualified to address the standards of care applicable to CMG's related surgeons
and does not adequately address the standard of care applicable to a professional group,
(2) does not adequately identify how its duty was breached, and (3) does not adequately
demonstrate how the allegedly negligent medical care of CMG caused injury or damage.

Qualifications


	With respect to Bush's qualifications, CMG argues the report and attached
curriculum vitae may establish that Bush is a well-qualified cardiologist but "contains no
explanation as to how he is qualified to render opinions regarding the standard of care
applicable to a general surgeon." (11) In a review of the qualifications of one rendering a
section 13.01 report, the "issue is the specific subject matter and the expert's familiarity
with it."  Hagedorn v. Tisdale, 73 S.W.3d 341, 350 (Tex.App.-Amarillo 2002, no pet.) (citing
Broders v. Heise, 924 S.W.2d 148, 153 (Tex. 1996)).  Bush's report does not concern
Stovall's hernia surgery.  The specific subject matter of the report is the management of
Stovall's post-operative anti-coagulation therapy and related care, particularly as it relates
to her history of aortic valve replacement.  Bush's active medical practice encompasses
that subject matter.  His report says he is familiar with the standard of care for physicians
"in relation to appropriate protocols for anti-coagulation and anti-coagulation transition" and
the statement is supported by the description of his practice, training and experience. 
(emphasis in original).  We conclude he is qualified to testify to the standard of care
applicable to the physicians, including the surgeons with respect to their participation in the
management of that post-operative therapy and care.  See Windisch, 138 S.W.3d at 512
(some standards of care applicable to multiple schools of practice); Blan v. Ali, 7 S.W.3d
741 (Tex.App.-Houston [14th Dist.] 1999, no pet.) (practical knowledge of what is usually
and customarily done by other practitioners under similar circumstances may qualify
witness to testify).

	As with COL, our conclusion Bush is qualified to testify to the standard of care
applicable to Dr. Thames and Dr. Pessa in this context, mandates the conclusion the trial
court's denial of the motion to dismiss was not an abuse of discretion.  TEX. REV. CIV.
STAT. ANN. art. 1528f, § 24; Battaglia, 177 S.W.3d at 901-02.

Standard of Care - Breach - Causation


	CMG contends Bush's report  "says nothing about the standard of care applicable
to CMG.  It simply lumps CMG in with other Defendant physicians, physician assistants and
professional entities.... [and] the Bush Report makes no effort to identify any particular duty
of care owed by CMG to this particular patient, how its duty, if any, was breached, and how
the alleged breach caused the decedent's injury."  CMG also relies on Taylor, 169 S.W.3d
241 and cases cited therein.  We disagree with CMG's contention.  Just as with Boone and
COL, we find the report adequately addresses the standards applicable to the CMG
physicians who treated Stovall post-operatively, the manner in which Bush believes the
care fell below the standards and the resulting harm, and find that, in these circumstances,
the inclusion of the surgeons and the cardiology defendants in the same discussion of
those subjects did not render the report inadequate. (12)  The trial court could have found the
report constitutes a good faith effort to inform CMG of the specific conduct called into
question and provides a basis for the trial court to conclude that the claims against CMG
have merit.  Palacios, 46 S.W.3d at 879.      

Conclusion


	Because we conclude the trial court did not abuse its discretion in denying the
motions to dismiss of Boone, COL, and CMG,  Walker, 827 S.W.2d at 839, we deny both
petitions for writ of mandamus.


							James T. Campbell

							         Justice


   

		
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.  
2.  This original proceeding has been assigned cause number 07-05-0384-CV.
3.  The mandamus record indicates that CMG has been treated in the trial court as
a professional association. The record also shows that CMG recently filed amended
pleadings indicating that it actually is not a professional association but a non-profit
healthcare corporation.  We have not considered, and this opinion does not address, the
effect of such a change in CMG's organizational form.
4.  This separate proceeding has been assigned cause number 07-05-0425-CV.  This
opinion considers and decides both cause number 07-05-0384-CV and cause number 07-05-0425-CV. 
5.  Plaintiffs, in their original petition, also sued Covenant Health System, Covenant
Health System d/b/a Covenant Medical Center, Sisters of St. Joseph of Orange, St. Joseph
Health System, Elbert A. Thames, Jr., M.D., Mark E. Pessa, M.D., and SWAT Surgical
Associates, L.L.P.  The petitions before us challenge the adequacy of the expert report
only as to Boone, COL, and CMG.
6.  The record before us does not include the order dismissing Dr. Thames from the
lawsuit, but we note that the Fifth Amended Original Petition does not include Dr. Thames
as a party defendant.
7.  TEX. OCC. CODE ANN. §§  204.202, 204.204.
8.  The report also discusses other requirements of the standard of care applicable
to the physicians, including a standard requiring the timely recognition of kidney failure and
a standard requiring performance of a serum creatinine (a measure of kidney function)
before administering I.V. contrast for an abdominal CT scan.  
9.  The report alleges other breaches, including inappropriate dosages of medication
and failure to recognize kidney failure.
10.  The report states, in part: "With regard to the causal relationship between the
Physicians' failure to meet the standard of care and the injury, harm, and damages
suffered . . . it is uncontroverted that this patient's death was due to internal bleeding and
related complications (hemorrhagic shock and multi-system organ failure).  The internal
bleeding and related complications directly resulted from the inappropriate use of anti-coagulants in the immediate post-operative period and the inadequate monitoring and
adjustment of the continued anti-coagulation.  The failure on the part of the Physicians to
recognize a significant drop in the hemoglobin during the post-operative period while the
patient was receiving anti-coagulation medications allowed the patient to continue to bleed
which caused the hemorrhagic shock, multi-organ system failure and death."  
11.  We know Dr. Thames was the surgeon who performed the surgery for Ms.
Stovall's right inguinal hernia, however, we cannot determine Dr. Pessa's practice area
from the record before us.
12.  The report further addressed a specific allegation against Dr. Thames, stating,
"Moreover, Dr. Thames ordered an I.V. rate of 50 cc/hour which represented a further
breach in the standard of care, because the I.V. rate was insufficient."


